Case 2:25-cv-02962-JMA-SIL                        Document 5            Filed 05/29/25        Page 1 of 3 PageID #: 50



AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                              for the

                                                  Eastern District of New York


                   LORRAINE KENNEDY                             )
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                                                                )
                            P/ainti.ff(s)
                                                                )
                                                                )
                                 V.                                     Civil Action No. 2:25-cv-02962-JMA-SIL
                                                                )
  NORTHWELL HEALTH, KAREN TUZZOLO AND                           )
    CAROL RAHMAN (Sued in their Individual                      )
   Capacities Pursuant to NYEL §§ 290 et seq)                   )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Carol Rahman
                                   2000 Marcus Avenue, New Hyde Park,
                                   New York 11042




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Scott Michael Mishkin, Esq.
                                One Suffolk Square, Suite 240,
                                 Islandia, New York 11749
                                Tel: (631)·234-1154



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                          BRENNA B. MAHONEY
                                                                          CLERK OF COURT

        5/29/2025
Date:
        - - - - - - -- -                                                          ~
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Case 2:25-cv-02962-JMA-SIL                        Document 5            Filed 05/29/25     Page 2 of 3 PageID #: 51



AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                  Eastern District of New York


                   LORRAINE KENNEDY                             )
                                                                )
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                            Plaintiff(s)
                                                                )
                                                                )
                                V.                                      Civil Action No. 2:25-cv-02962-JMA-SIL
                                                                )
   NORTHWELL HEALTH, KAREN TUZZOLO AND                          )
     CAROL RAHMAN (Sued in their Individual                     )
    Capacities Pursuant to NYEL §§ 290 et seq)                  )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Karen Tuzzolo
                                   2000 Marcus Avenue, New Hyde Park,
                                   New York 11042




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Scott Michael Mishkin, Esq.
                                 One Suffolk Square, Suite 240,
                                 Islandia, New York 11749
                                 Tel : (631)-234-1154



        lf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                          BRENNA B. MAHONEY
                                                                          CLERK OF COURT

         5/29/2025
Date:
Case 2:25-cv-02962-JMA-SIL                       Document 5          Filed 05/29/25        Page 3 of 3 PageID #: 52



AO 440 (Rev. 06/12) Summons ma Civil Action


                                     UNITED STATES DISTRICT COURT
                                                           for the

                                               Eastern District of New York


                  LORRAINE KENNEDY
                                                             )
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                           Plaintiff(s)
                                                             )
                                                             )
                               V.                                    Civil Action No. 2:25-cv-02962-JMA-SIL
                                                             )
   NORTHWELL HEALTH, KAREN TUZZOLO AND                       )
     CAROL RAHMAN (Sued in their Individual                  )
    Capacities Pursuant to NYEL §§ 290 et seq)               )
                                                             )
                         Defendant(s)                        )

                                              SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Northwell Health
                                   2000 Marcus Avenue, New Hyde Park,
                                   New York 11042




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Scott Michael Mishkin, Esq.
                                 One Suffolk Square, Suite 240,
                                 Islandia, New York 11749
                                 Tel: (631)-234-1154




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                        BRENNA B. MAHONEY
                                                                       CLERK OF COURT

        5/29/2025
Date: - - - - -- - -
                                                                                 Signature of,
